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     June 15, 2020

     VIA ELECTRONIC FILING
     Honorable Steven L. Tiscione
     United States District Court
     Eastern District of New York
     225 Cadman Plaza East, Chambers N505-North Wing
     Brooklyn, NY 11201

     Re:        Francisco Suriel v. The Port Authority of New York and New Jersey, et al.
                Docket No.: 19-CV-03867 (PKC) (ST)

     Dear Judge Tiscione:

     This office represents the defendants, The Port Authority of New York and New Jersey (the “Port
     Authority”), Andrew Samuel (“Officer Samuel”), Jeremy Kahn (“Officer Kahn”), and Sgt. Joseph
     Opromalla (“Sgt. Opromalla”) (collectively, “defendants”) in the above-referenced matter. We
     write to respectfully request an extension of all discovery deadlines. We have conferred with
     plaintiff’s counsel and they join in the application.

     Plaintiff’s First Amended Complaint adding Officer Kahn and Sgt. Opromalla was served via e-
     mail on consent on June 8, 2020. Pursuant to the Federal Rules of Civil Procedure, defendants
     must respond to the amended pleading within 14 days, on or before June 22, 2020.

     In light of the amended pleadings with two additionally named defendants, as well as other delays
     in the case due to Covid-19, the parties are requesting additional discovery deadline extensions. If
     the Court permits the below proposed discovery schedule, both parties have mutually agreed to
     schedule the parties depositions on the following dates: 1) Plaintiff: September 2, 2020; 2) Officer
     Samuel: September 9, 2020; 3) Officer Kahn: September 18, 2020; and 4) Sgt. Opromalla:
     September 28, 2020.

     The current discovery schedule is as follows:

           1.   The parties shall complete fact discovery by June 18, 2020.
           2.   The parties shall submit settlement position papers on June 23, 2020.
           3.   Settlement conference to be held on June 25, 2020.
           4.   The parties shall exchange expert reports by July 17, 2020.
           5.   Expert depositions completed by August 17, 2020.
           6.   All discovery completed by August 17, 2020.
           7.   Final date to take first step in dispositive motion practice, September 17, 2020.




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     The parties propose the following new schedule:

         1. The parties shall complete fact discovery by October 16, 2020.
         2. The parties shall submit settlement positions papers on October 21, 2020.
         3. Settlement conference to be held on October 23, 2020.
         4. The parties shall exchange expert reports by November 2, 2020.
         5. Motion to join parties or amend pleading shall be submitted by November 6, 2020.
         6. First requests for production of documents and interrogatories shall be submitted by
            November 20, 2020.
         7. Expert depositions completed by November 23, 2020.
         8. All discovery completed by November 23, 2020.
         9. Final date to take first step in dispositive motion practice, December 23, 2020.


     We thank the Court for your courtesies and attention to this matter.


                                                                           Respectfully submitted,

                                                                           PORT AUTHORITY LAW DEPARTMENT
                                                                           Attorneys for Defendants



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